                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

CORY PEER, individually and                   )
on behalf of all others similarly situated,   )
                                              )
       Plaintiff,                             )
                                              )     No. 3:16-cv-1578
vs.                                           )
                                              )     Judge Crenshaw/Knowles
GRAYCO MANAGEMENT, LLC, d/b/a                 )
MCDONALD’S and PHIL GRAY,                     )
                                              )
       Defendants.                            )

                              CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing Plaintiff’s Motion to
Continue Initial Case Management Conference with the Clerk of the Court for the
United States Middle District of Tennessee by using the CM/ECF system on September
26, 2016. Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system. I further certify that some of the participants in the case are not
registered CM/ECF users. I have mailed the foregoing document by First-Class Mail,
postage prepaid, or have dispatched it to a third party commercial carrier for delivery
within 3 calendar days to the following non-CM/ECF participants.

       PHIL GRAY
       152 McGAVOCK PIKE
       NASHVILLE, TN 37214

       GRAYCO MANAGEMENT, LLC d/b/a MCDONALD'S
       c/o PHILIP GRAY, REGISTERED AGENT
       152 McGAVOCK PIKE
       NASHVILLE, TN 37214



                                              /s/Randall W. Burton
                                              Randall W. Burton (TN No. 15393)
                                              144 Second Avenue, North
                                              Suite 212
                                              Nashville, Tennessee 37201
                                              (615) 620-5838




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